        Case 9:15-cr-00016-DLC Document 102 Filed 12/15/15 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                                                                          FILED
                      FOR THE DISTRICT OF MONTANA                          DEC 15 2015
                             MISSOULA DIVISION                          Cle~. y.s District Court
                                                                          Dlstrict.Of Montana
                                                                               Mrssoura

 UNITED STATES OF AMERICA,                            CR-15-16-M-DLC
                     Plaintiff,                      FINDINGS AND
                                                   RECOMMENDATION
        vs.                                        CONCERNING PLEA
 BRYCE DOUGLAS FISCHER,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of possession with the intent to

distribute methamphetamine in violation of21 U.S.C. § 846, as set forth in the

Superseding Information. In exchange for Defendant's plea, the United States has

agreed to dismiss the Superseding Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,



FINDINGS AND RECOMMENDATION- Page 1
        Case 9:15-cr-00016-DLC Document 102 Filed 12/15/15 Page 2 of 2



      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the charge

set forth in the Superseding Information. I further recommend that the

Superseding Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.




                                        e emiah C. Lynch
                                         nited States Magistrate Judge

FINDINGS AND RECOMMENDATION- Page 2
